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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       Case No. 1:21-cr-00164 (RCL)
       v.                                   :
                                            :
ANNA MORGAN-LLOYD,                          :
                                            :
               Defendant.                   :

               GOVERNMENT’S RESPONSE TO PRESS COALITION’S
             MOTION FOR ACCESS TO COMMUNITY SERVICE RECORDS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the Press Coalition’s Motion for

Access to Community Service Records (No. 1:21-mc-155) related to Defendant Anna Morgan-

Lloyd. The Government takes no position on the Press Coalition’s motion and defers to the

judgment of the Court.


                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY

                                            /s/ Joshua S. Rothstein
                                            Joshua S. Rothstein
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                                     Certificate of Service

       I hereby certify that on this 20th day of December 2021, I served a copy of the foregoing

on counsel for the defendant and the counsel for the Press Coalition.



                                                     /s/ Joshua S. Rothstein
                                                     Joshua S. Rothstein
                                                     Assistant United States Attorney




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